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                           Exhibit 2
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HEARING ON DIRECT PURCHASER
   PLAINTIFFS’ MOTION FOR
    CLASS CERTIFICATION
  IN RE: ZETIA (EZETIMIBE) ANTITRUST LITIGATION
             No. 2:18-md-2836 (E.D. Va.)

                                  May 1, 2020


                  DEFENDANTS’ PRESENTATION
                                                                                        1
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Summary of Issues
  •   Numerosity and Practicability of Joinder
      •   Only 23 entities should be included in the proposed class.
      •   Joinder of proposed class members, who have the ability and motivation
          to litigate independently, is practicable and would be efficient.
  •   Predominance and Superiority
      •   Individual inquiries will be required, and a class action is not superior.
  •   Adequacy and Typicality
      •   RDC is an inadequate class representative because its bankruptcy
          creates a conflict and its honesty is subject to reasonable question.
      •   FWK is an inadequate class representative due to its lack of
          independence from class counsel.
      •   CCI’s idiosyncratic purchases make its claims atypical of the class.
                                                                                                   2
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Standard Governing Motions for Class Certification

  •   Class actions are the “exception to the usual rule that litigation is
      conducted by and on behalf of the individual named parties only.”
      Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348 (2011) (quotation omitted)
      (emphasis added).
  •   The plaintiffs bear the burden of demonstrating that each requirement of
      class certification has been met. Krakauer v. Dish Network LLC, 925 F.3d
      643, 654 (4th Cir. 2019).
  •   Plaintiffs must show that each requirement has been met by a
      preponderance of the evidence. American Sales Co. v. Pfizer, No. 2:14-cv-
      00361, 2017 WL 3669604, at *5 (E.D. Va. July 28, 2017) (citing In re
      Hydrogen Peroxide Antitrust Litig., 552 F.3d 305, 320 (3d Cir. 2008)).
  •   The Court must undertake a “rigorous analysis” to ensure that plaintiffs
      have met their burden. Wal-Mart, 564 U.S. at 350–51 (emphasis added).

                                                                                                   3
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Numerosity & Practicability of
          Joinder




                                                                                      4
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Numerosity & Practicability of Joinder

  •    Two-step analysis considering:
       •    Number of class members
            • Generally, classes of more than 40 satisfy the numerosity requirement.
                 • However, the Fourth Circuit has affirmed denial of certification of classes with more
                   than 50 members.1
            • Classes of fewer than 20 do not satisfy the numerosity requirement.
            • If a putative class has 21–40 members, analysis varies and depends on
              “the circumstances of each particular case.”2
       •    Impracticability of joinder

  1 Roman v. ESB, Inc., 550 F.2d 1343 (4th Cir. 1976).
  2 In re Modafinil, 837 F.3d at 249–50.

                                                                                                           5
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Numerosity

               Reason for Exclusion                Number Excluded                   Total

                Initial DPP Proposal                        --                         70

                    Reductions That Are Uncontested or Based on Court Rulings

        DPPs’ adjusted damages period                       5                          65

                Purchasers from Par                         23                         42

                                         Contested Reductions

                      Retailers                             7                          35

                    Subsidiaries                            6                          29

               Brand-only purchasers                        2                          27

              Idiosyncratic purchasers                      4                          23

                                                                                                   6
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Numerosity: Generic-Only Purchasers


•   Putative class members who purchased                           Reason for          Number
                                                                                                     Total
                                                                   Exclusion           Excluded
    only generic ezetimibe from Par should                       Reductions That Are Uncontested or Based on
    be excluded.                                                                Court Rulings
                                                                 DPPs’ adjusted
    •   The Court has ruled that these entities                  damages period
                                                                                           5          65

        are not direct purchasers.                              Purchasers from
                                                                                          23          42
                                                                      Par
    •   The Court dismissed Plaintiffs’ claims to                            Contested Reductions
        the extent based on indirect purchases.                      Retailers             7          35
                                                                   Subsidiaries            6          29
    •   DPPs “recognize that the Court has
                                                                    Brand-only
        ruled that direct purchasers from Par                       purchasers
                                                                                           2          27
        are indirect purchasers, and thus lack                     Idiosyncratic
                                                                                           4          23
        standing under federal antitrust                            purchasers

        law.” DPPs’ Reply Brief at 1, n.4.

                                                                                                               7
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Numerosity: Retailer Plaintiffs

                                                                   Reason for          Number
   •   Retailer Plaintiffs should be                               Exclusion           Excluded
                                                                                                     Total
       excluded.                                                 Reductions That Are Uncontested or Based on
                                                                                Court Rulings
   •   Retailers have chosen to proceed in                       DPPs’ adjusted
                                                                                           5          65
       the MDL with their own lawsuits and                       damages period
       their own counsel.                                      Purchasers from Par        23          42
                                                                             Contested Reductions
   •   Retailers collectively retained one
                                                                    Retailers              7          35
       expert to address their own
                                                                   Subsidiaries            6          29
       economics and damages issues.                                Brand-only
                                                                                           2          27
                                                                    purchasers
   •   Retailers have already opted out of
                                                                   Idiosyncratic
       this very case with respect to DPPs’                         purchasers
                                                                                           4          23

       settlement with Par.



                                                                                                               8
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Numerosity: Retailer Plaintiffs


• DPPs do little to defend including Retailers
  in the class count.




Source: DPPs’ Reply Memorandum In Support of Motion for Class Certification at 4.
                                                                                                        9
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Numerosity: Retailer Plaintiffs

 •    In other litigation, direct purchasers represented by
      many of the same counsel have requested that the
      court exclude retailer plaintiffs proceeding
      separately from the definition of the class.




 Source: Memorandum In Support of Motion to Amend the Litigation Class Definition, filed in King Drug Co. of Florence, Inc. v.
 Cephalon, Inc., No. 2:06-cv-01797-MSG, ECF No. 833-1 (E.D. Pa. Aug. 5, 2015).
                                                                                                                                 10
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Numerosity: Retailer Plaintiffs

                                                                     Reason for         Number
•   Under Fourth Circuit precedent, the                              Exclusion          Excluded
                                                                                                      Total
    numerosity and practicability analysis                        Reductions That Are Uncontested or Based on
    focuses on whether “joinder of those not                                     Court Rulings

    already plaintiffs in the action” is                           DPPs’ adjusted
                                                                                            5          65
                                                                   damages period
    impracticable. Roman v. ESB, Inc., 550 F.2d
                                                                 Purchasers from Par        23         42
    1343, 1348 (4th Cir. 1976) (emphasis added).
                                                                               Contested Reductions
    •   In Roman, denial of class certification                       Retailers             7          35
        where there were only 11 additional                          Subsidiaries           6          29

        class members to be joined was “so                           Brand-only
                                                                                            2          27
                                                                     purchasers
        apparently correct as to require no                         Idiosyncratic
                                                                                            4          23
        discussion.” Id. at 139.                                     purchasers




                                                                                                                11
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Numerosity: Subsidiaries

                                                                       Reason for         Number
 •   Subsidiaries of other class members                               Exclusion          Excluded
                                                                                                        Total
     should be excluded.                                            Reductions That Are Uncontested or Based on
                                                                                   Court Rulings
     •    Plaintiffs have already excluded some
                                                                     DPPs’ adjusted
          subsidiaries.1                                             damages period
                                                                                              5          65

     •    Joining subsidiaries is more practicable                 Purchasers from Par        23         42
          than joining unrelated companies.                                     Contested Reductions
                                                                        Retailers             7          35
     •    Subsidiaries are different from partial
                                                                      Subsidiaries            6          29
          assignees when it comes to practicability
                                                                       Brand-only
          of joinder, because they have common                         purchasers
                                                                                              2          27
          ownership with, and are controlled by,                      Idiosyncratic
                                                                                              4          23
          another class member.                                        purchasers




 1 Leitzinger Damages Report ¶ 23.

                                                                                                                  12
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Numerosity: Subsidiaries

   •    Proposed class members that are subsidiaries:
        •   Bellco (AmerisourceBergen)
        •   Burlington Drug (Smith Drug)
        •   H.D. Smith (AmerisourceBergen)
        •   Harvard Drug (Cardinal Health)
        •   Smith Medical Partners (AmerisourceBergen)
        •   Valley Wholesale (AmerisourceBergen)


   •    If Retailer Plaintiffs remain in the class, RiteAid Headquarters Corp. is also a
        subsidiary (of RiteAid Corp.).
 Source: Strombom Decl. ¶ 28.

                                                                                                        13
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Numerosity: Brand-Only Purchasers

                                                                       Reason for         Number
 •   Brand-only purchasers should be                                   Exclusion          Excluded
                                                                                                        Total
     excluded.                                                      Reductions That Are Uncontested or Based on
                                                                                   Court Rulings
     •    Plaintiffs have not shown by a
                                                                     DPPs’ adjusted
          preponderance of the evidence that                         damages period
                                                                                              5          65

          impact to these purchasers can be                        Purchasers from Par        23         42
          proven with common evidence.                                           Contested Reductions
                                                                        Retailers             7          35
     •    Unlike other class members, brand-
                                                                       Subsidiaries           6          29
          only purchasers did not purchase                             Brand-only
                                                                                              2          27
          generic ezetimibe when it became                             purchasers
          available.                                                  Idiosyncratic
                                                                                              4          23
                                                                       purchasers




 Source: Strombom Decl. ¶ 44–46.
                                                                                                                  14
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Numerosity: Brand-Only Purchasers

                                                                       Reason for         Number
 •   These brand-only purchasers did not                               Exclusion          Excluded
                                                                                                        Total
     receive discounts on brand Zetia®                              Reductions That Are Uncontested or Based on
     before generic entry:                                                         Court Rulings
                                                                     DPPs’ adjusted
     •    Caribe Rx                                                  damages period
                                                                                              5          65

                                                                   Purchasers from Par        23         42
     •    Eveready Wholesale Drugs
                                                                                 Contested Reductions
     •    Harvard Drug (also a subsidiary)                              Retailers             7          35
                                                                       Subsidiaries           6          29
 •   The evidence shows that DPPs with no
                                                                       Brand-only
     discounts before generic entry typically                          purchasers
                                                                                              2          27

     do not receive discounts after                                   Idiosyncratic
                                                                                              4          23
     generic entry.                                                    purchasers




 Source: Strombom Decl. ¶¶ 44–46.
                                                                                                                  15
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Numerosity: Idiosyncratic Purchasers

                                                                     Reason for         Number
•   Idiosyncratic purchasers should be                               Exclusion          Excluded
                                                                                                       Total
    excluded.                                                     Reductions That Are Uncontested or Based on
                                                                                 Court Rulings
    •   Plaintiffs have not shown by a
                                                                   DPPs’ adjusted
        preponderance of the evidence that                         damages period
                                                                                            5           65

        impact to these purchasers can be                        Purchasers from Par        23          42
        proven with common evidence.                                           Contested Reductions
                                                                      Retailers             7           35
    •   Three idiosyncratic purchasers waited
                                                                     Subsidiaries           6           29
        until long after generic entry to                            Brand-only
                                                                                            2           27
        purchase generic product.                                    purchasers
                                                                    Idiosyncratic
    •   Two bought a very small quantity of                          purchasers
                                                                                            4           23

        brand Zetia® before generic entry.
    •   The idiosyncratic purchasers did not
        receive discounts after generic entry.                  Source: Strombom Decl. ¶¶ 48–51, 55.
                                                                                                                16
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Numerosity: Idiosyncratic Purchasers
•   Cesar Castillo Inc.
    •   Did not purchase generic ezetimibe until January 2019—two years after
        generic entry, and after it was a plaintiff in this litigation
•   Henry Schein
    •   Did not purchase generic ezetimibe for more than a year after it became
        available, and only after at least six generics were on the market
•   Paragon
    •   Only purchased one bottle of brand Zetia® (containing 30 pills) in
        September 2015
•   A.F. Hauser
    •   Made just two indirect purchases of generic ezetimibe and four
        purchases of brand Zetia® (for a total of 450 brand pills)
                                                                               Source: Strombom Decl. ¶¶ 47–56.
                                                                                                                  17
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Joinder of All Proposed Class Members Is Practicable

   •    Analyzing practicability requires assessing multiple factors:1
        •    The vast majority of proposed class members are large companies with
             multi-million dollar claims, so they have the ability and motivation to
             litigate as joined plaintiffs, as well as the financial resources necessary
             to do so.
        •    Judicial economy does not weigh in favor of a class action because the
             case is already proceeding as an MDL, multiple class members are
             already litigating efficiently, plaintiffs have been sharing experts and
             resources, and additional discovery is unlikely.
        •    The remaining practicability factors do not compel class certification.
   •    Joinder is practicable even with up to 42 class members.


  1 In re Modafinil, 837 F.3d at 250.
                                                                                                         18
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Practicability of Joinder: Ability and Motivation to Litigate

   •   The proposed class members purport to have substantial claims and
       therefore have the ability and motivation to litigate as joined plaintiffs.
   •   The “Big Three”—McKesson, AmerisourceBergen, and Cardinal Health—
       each have supposed claims of                   in treble damages.1
       •    Their claims represent about 97% of the total DPP claims.2
       •    The Big Three are not “candidates who need the aggregative advantages
            of the class device.”3
       •    The Big Three have chosen not to sue, and the class action device was
            not intended to allow smaller entities to pursue the Big Three’s claims for
            settlement leverage.

   1 Strombom Decl. Fig. 5.
   2 See Strombom Decl. ¶ 73 & Fig. 5; Leitzinger Damages Report at 26, Table 2.
   3 In re Modafinil, 837 F.3d at 258.
                                                                                                        19
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Practicability of Joinder: Ability and Motivation to Litigate


  •   14 of the 23 class members
      claim supposed treble
      damages of over $10 million,
      and 17 of the 23 claim
      supposed treble damages of
      over $3 million.
      • The 17 entities collectively
        account for over 99.98% of total
        estimated damages for the 23
        class members.
  •   All but 2 of the 23 class
      members claim supposed
      treble damages of more than
      $450,000.                                      Source: Strombom Decl. ¶ 74 & Fig. 5.
                                                                                                     20
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Practicability of Joinder: Ability and Motivation to Litigate

•      The proposed class members are large
       companies that have the financial
       resources necessary to pursue
       litigation.
       •   All 22 entities that are still in business have
           annual revenue of more than $16 million.
       •   More than half of them have annual
           revenue greater than $100 million.
       •   The Big Three have annual revenues of
           more than $100 billion.




    Source: Strombom Decl. ¶ 72 & Fig. 4.

                                                                                                            21
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Practicability of Joinder: Ability and Motivation to Litigate

 •     Plaintiffs’ $3 million “negative claim” argument is a red herring.
       • Plaintiffs present no evidence of the actual costs of joinder.
            • They wrongly assume that individual plaintiffs would have to bear the
              entirety of litigation costs on their own.
                 • “As joined parties, no individual plaintiff will bear the costs of . . . experts
                   completely on their own.”1
                 • The seven Retailers, for example, share the cost of a single expert.
 •     CCI has decided to litigate as a named plaintiff, even though its supposed treble
       damages are estimated at            .2
 •     However the class is defined, fewer than half of the class members have
       so-called negative claims, even under plaintiffs’ unsupported theory.
     1 In re Androgel, 2018 WL 3424612, at *3 (N.D. Ga. July 16, 2018).
     2 Strombom Decl., Ex. 4.
                                                                                                          22
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Practicability of Joinder: Ability and Motivation to Litigate

   •      Class certification may still be inappropriate even if a small number of class
          members would have negative-value claims.1
   •      Contingent fees mitigate concerns over supposed negative-value
          claims.2
               • “[T]he fact that all class members, even those with such so-called
                 ‘small’ claims, would likely be represented on a contingent basis
                 undermines [the Plaintiffs’] position that litigating via joinder would
                 result in a negative claim.”3




       1 In re Modafinil, 837 F.3d at 259; In re Androgel, 2018 WL 3424612, at *3.
       2 King Drug Co. of Florence, Inc. v. Cephalon, 2017 WL 3705715, at *10 (E.D. Pa. Aug. 28, 2017).
       3 In re Androgel, 2018 WL 3424612, at *3 (quotation omitted).
                                                                                                          23
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Practicability of Joinder: Judicial Economy

   •    Judicial economy favors certification where “the class action mechanism is
        substantially more efficient than joinder of all parties.”1
   •    Proceeding with a class would not be substantially more efficient than
        joining additional class members to the ongoing cases in the MDL.
        •    Proceedings have already been centralized by the JPML.
        •    The 3 DPP named plaintiffs and 7 Retailer Plaintiffs are already litigating
             efficiently in this court.
        •    Plaintiffs have been using many of the same experts and otherwise
             sharing resources.
        •    No new discovery will likely be necessary if additional parties are joined.


 1 In re Modafinil, 837 F.3d at 253 (emphasis added).

                                                                                                        24
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The Additional Practicability Factors Do Not Compel Certification

  •   Geographic dispersion
      •   The proposed class members are already litigating their claims efficiently
          despite geographic dispersion.
      •   The MDL also mitigates inefficiencies based on geography.
  •   Identification of claimants
      •   Potential claimants have already been identified based on defendants’
          transaction data.
  •   Nature of relief
      •   DPPs are seeking damages, not injunctive relief.




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   Predominance & Superiority




                                                                                       26
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Predominance
  •   The predominance requirement “tests whether proposed classes are
      sufficiently cohesive to warrant adjudication by representation,” a standard
      “‘far more demanding’ than the commonality requirement of Rule 23(a).”1

  •   “If proof of the essential elements of the cause of action requires individual
      treatment, then class certification is unsuitable.”2

  •   Individual issues predominate on the essential element of antitrust impact for
      brand-only purchasers and idiosyncratic purchasers.

      •    Assessing impact will require individualized inquiry into whether they would
           have purchased generic ezetimibe earlier and whether their costs for
           brand Zetia® would have been lower with earlier generic availability.

1 In re Hydrogen Peroxide, 552 F.3d at 310–11 (quoting Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 623 (1997)) (emphasis
added).
2 Id. at 311 (emphasis added).
                                                                                                                             27
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Predominance

  •    Beyond brand-only and idiosyncratic purchasers, Plaintiffs have not shown
       that common issues predominate when it comes to antitrust impact.
       •    Dr. Leitzinger’s methodology relies on averages for showing antitrust
            impact.
            • The literature and forecasts he cites are entirely averages-based; they
              do not even attempt to predict what individual purchasers would pay.
            • This use of averages does not show that each individual class
              member was impacted.
            • Dr. Leitzinger admits that 44 percent of purchasers did not obtain
              increased discounts on brand purchases after generic ezetimibe
              entered the market.1

  1   Leitzinger Decl. ¶ 44.

                                                                                                        28
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Predominance

•       Dr. Leitzinger’s averages are
        distorted by the size of the Big
        Three.
        •   Average prices are not
            necessarily indicative of the
            prices actually paid by
            proposed class members.
        •   The Big Three account for
            more than 95% of class
            purchases of brand Zetia.®1



    1   Strombom Decl. ¶ 40.                            Source: Deposition of Dr. Leitzinger at 236:4–15.
                                                                                                            29
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The Court Cannot Rely on Averages Without a “Rigorous Analysis”

  •   In In re Lamictal, a reverse-payment case involving the drug lamotrigine,
      direct purchaser plaintiffs brought claims similar to DPPs’ claims here.

  •   Plaintiffs there relied on similar evidence to establish predominance,
      including:
      •    “[E]conomic literature showing that, on average, prices of generics are
           lower as more enter the market”
      •    The generic manufacturer’s “general pricing forecast”
      •    “[T]ransaction-level sales data” showing “average actual price[s] paid”
      •    A model that “relie[d] on an average hypothetical price” that would have
           been paid by each purchaser in the but-for world.1

  1 In re Lamictal Direct Purchaser Antitrust Litig., -- F.3d --, 2020 WL 1933260, at *5 (3d Cir. Apr. 22, 2020).
                                                                                                                    30
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The Court Cannot Rely on Averages Without a “Rigorous Analysis”

  •   The Third Circuit found that plaintiffs’ model “fail[ed] to account for
      individual negotiations or the effect of [the brand manufacturer’s]
      Contracting Strategy on each Direct Purchaser.”
  •   It held that “the District Court abused its discretion when it assumed,
      absent a rigorous analysis, that averages are acceptable.”
      •   Instead, the district court should have “address[ed] the multi-leveled
          microeconomic analysis of what each Defendant would or would not
          have possibly done in the but-for world.”
  •   The Third Circuit noted that averages are acceptable only “where they do
      not mask individualized injury,” and it vacated the district court’s grant of
      class certification and remanded for further analysis.1


  1 Id. at *5–6 (emphasis added).
                                                                                                     31
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Superiority

  •   Considering the Rule 23(b)(3) factors regarding predominance and
      superiority make clear that a class action is not a superior method for
      litigating plaintiffs’ claims.
      •   Given the size of the claims at stake, individual claimants have a
          strong interest in controlling the prosecution of separate actions.
      •   At least seven members of the proposed class are already pursuing
          litigation separately from the DPPs.
      •   The JPML has centralized litigation of similar claims in this forum.
      •   Managing a class action will introduce difficulties given the need for
          individualized inquiries.




                                                                                                     32
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           Adequacy & Typicality




                                                                                       33
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Adequacy & Typicality


  •   The three named plaintiffs are not adequate class representatives or are
      not typical of the class.


      •   Rochester Drug Cooperative, Inc. has a conflicting duty to its creditors,
          including Defendants, and a history of dishonest criminal conduct.
      •   Frank W. Kerr Co. is a shell company lacking independence from class
          counsel.
      •   Cesar Castillo, Inc. did not buy generic ezetimibe until years after
          generic entry—when it was already a plaintiff in this lawsuit.



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RDC Is Not an Adequate Class Representative


  •   RDC’s bankruptcy proceeding creates serious, immediate conflicts of
      interest with the class.
  •   RDC is now a debtor in possession, and thus has a duty to maximize and
      conserve its own resources.
      •   During Chapter 11 proceedings, debtors in possession stand “as a
          fiduciary” and are “required to place the interests of [their] creditors
          before [their] own.” In re Massenburg, 554 B.R. 769, 776 (D. Md. 2016).
  •   RDC’s fiduciary duty to its creditors is in conflict with its duty to actively
      promote the interests of other class members in the litigation.




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RDC Is Not an Adequate Class Representative


  •   RDC also has a duty to Defendants.
  •   RDC has disclosed that Merck is its fourth largest unsecured creditor,
      and that RDC owes Merck approximately $5 million; RDC owes Glenmark
      over $150,000.
  •   Defendants now have a unique defense against RDC—that any recovery
      by RDC should be set off against its debt to Defendants.




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RDC Is Not an Adequate Class Representative


                      A trustee in bankruptcy or debtor in possession “has a duty to seek to maximize the
                      value of his claim, and this duty may collide with his fiduciary duty as class
                      representative . . . to represent all members of the class equally.”


                        Dechert v. Cadle Co., 333 F.3d 801, 803 (7th Cir. 2003).




                      Where defendant had the largest unsecured claim against the bankrupt entity, the
                      Trustee’s “duties to the creditors of the Estate would collide jarringly with his duties
                      to the members of the class. This is because, as Trustee of the Estate, [Trustee]
                      would have an obligation to represent the interests of [Defendant], as a creditor of the
                      Estate . . . at the same time, as a class representative, [Trustee] would have a duty to
                      the class to prosecute the instant claims against” the Defendant.
                         In re Merrill Lynch & Co., Inc. Research Reports Securities Litig., 375 B.R. 719, 727 (S.D.N.Y. 2007).




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RDC Is Not an Adequate Class Representative


  •   RDC’s bankruptcy is the culmination of years of legal and financial
      struggles.
      •   RDC and two of its top executives were charged with felonies for their
          role in the opioid epidemic, including conspiracy to defraud the United
          States.
      •   RDC agreed to pay $20 million as a fine, yet defaulted on the payment
          schedule in less than a year from entering the deferred prosecution
          agreement.
  •   RDC’s legal and financial problems and criminal conduct raise concerns that
      it will be distracted or ill-suited to serve in a position of trust.


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FWK Is Not an Adequate Class Representative


  •    FWK is a litigation vehicle formed only for “the purposes of pursuing
       antitrust claims pursuant to the assignment that [FWK] obtained from Frank
       Kerr in bankruptcy.”
       •     FWK was created by attorneys at Vanek Vickers & Masini P.C. and is
             owned by a longtime friend of Joseph Vanek (counsel for FWK in this
             case).
  •    The District of Massachusetts held that FWK was not an adequate class
       representative in an antitrust pharmaceutical case due to the “close
       relationship between FWK and class counsel.”
  Source: Deposition of Thomas L. Kolschowsky at 22:7–18; In re Intuniv Antitrust Litig., 2019 WL 4645502, at *7-8 (D. Mass. Sept. 24,
  2019); Deposition of Michael Stahelin at 10:1–2, 45:20–46:5, 70:10–73:4.



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FWK Is Not an Adequate Class Representative


                      •   “FWK has no employees, expenses, or assets aside from its antitrust claims, and
                          its only revenue comes from settling lawsuits.”
                      •   The “sole member of FWK” is a “friend and business partner” of “class counsel
                          Joseph M. Vanek.”
                      •   “FWK’s purchase of Frank W. Kerr’s antitrust claims was financed in large part
                          with $300,000 in loans made . . . by Mr. Vanek and attorneys at his law firms . . .
                          The interest rate on the loans was below prevailing inflation expectations at the
                          time they were made.”
                      •   “Considering the close relationship between FWK and class counsel and the
                          Court’s assessment that FWK is not engaged in meaningful supervision of this
                          case, the Court is unable to conclude th[at] FWK has shown that it is an adequate
                          representative plaintiff.”

                               In re Intuniv Antitrust Litig., 2019 WL 4645502, at *7-*8 (D. Mass. Sept. 24, 2019).




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CCI Is Not an Adequate Representative/Has Atypical Claims


  •      CCI’s claims are atypical and it is subject to unique defenses.
         •     CCI is essentially a brand-only purchaser: it purchased only a small
               quantity of generic ezetimibe, years after generic entry, and only after
               filing this lawsuit.
         •     It received higher discounts on its brand purchases before generic entry
               than after generic entry. Therefore, it is likely uninjured.
         •     CCI admits that “Zetia was a more profitable drug for Castillo before
               generic entry rather than after generic entry.”


      Source: Strombom Decl. ¶¶ 49, 55; CCI Dep. at 78:24-79:4 [Exh. 2 to Dusseault Decl.].



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CCI Is Not an Adequate Representative/Has Atypical Claims




                                                                                          No
                                                                                        Image




                                            Glenmark launches
                                            – December 2016



                                                                  CCI files lawsuit
                                                                  – January 2018




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CCI Is Not an Adequate Representative/Has Atypical Claims


  •   Even if CCI is not excluded from the class for DPPs’ inability to demonstrate
      that it was injured, its likely lack of injury makes it inadequate and its claim
      atypical.

  •   The presence of a “unique defense” is a basis for “holding that plaintiff is not
      an adequate representative. . . . ‘The justification for this principle is that the
      class representative may become distracted by the presence of a unique
      defense, causing plaintiff’s representation of the class to be placed at a
      disadvantage.’” Shiring v. Tier Techs., 244 F.R.D. 307, 315 n.13 (E.D. Va.
      2007) (quoting 1–14A Moore’s Manual—Federal Practice and Procedure §
      14A.25[4]).



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Conclusion

  •   Numerosity and Practicability of Joinder
      •   The proposed class is small, and it is clearly practicable to join its
          members.
      •   Plaintiffs should not be permitted to use the class device to leverage the
          claims of huge wholesalers who have thus far chosen not to bring claims.
  •   Predominance and Superiority
      •   Individual inquiries will be required.
      •   The class device is not a superior method for adjudicating these claims.
  •   Adequacy and Typicality
      •   Each of the proposed class representatives is inadequate or has atypical
          claims.

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